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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION                        ENTERED
                                                                              12/08/2016


                                              §
  In re                                       §
                                              §
  AUTOSEIS, INC.,                             §     Case No. 14-20130
                                              §
                    Debtor.                   §     Chapter 11
                                              §
                                              §
                                              §
  In re                                       §
                                              §
  GLOBAL GEOPHYSICAL SERVICES, INC.,          §     Case No. 14-20131
                                              §
                    Debtor.                   §     Chapter 11
                                              §
                                              §
                                              §
  In re                                       §
                                              §
  GLOBAL GEOPHYSICAL EAME, INC.,              §     Case No. 14-20132
                                              §
                    Debtor.                   §     Chapter 11
                                              §
                                              §
                                              §
  In re                                       §
                                              §
  GGS INTERNATIONAL HOLDINGS, INC.,           §     Case No. 14-20133
                                              §
                    Debtor.                   §     Chapter 11
                                              §
                                              §
                                              §
  In re                                       §
                                              §
  ACCRETE MONITORING, INC.,                   §     Case No. 14-20134
                                              §
                    Debtor.                   §     Chapter 11
                                              §
                                              §




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    In re                                                             §
                                                                      §
    AUTOSEIS DEVELOPMENT COMPANY,                                     §    Case No. 14-20135
                                                                      §
                      Debtor.                                         §    Chapter 11
                                                                      §
                                                                      §

                  FINAL DECREE (I) CLOSING THE 2014 CHAPTER 11 CASES AND
                 (II) TERMINATING CERTAIN CLAIMS AND NOTICING SERVICES
                                                       (Docket No. 1246)
                                                      1
            Upon the motion (the “Motion”) of the above-captioned debtors (collectively, the

“Reorganized Debtors”) for entry of a final decree (the “Final Decree”) closing the 2014 Cases

and terminating certain claims and noticing services, all as more fully set forth in the Motion;

and the Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334; and the Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and the Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the

relief requested in the Motion is in the best interests of the Reorganized Debtors’ estates, their

creditors, and other parties in interest; and the Court having found that Reorganized Debtors’

notice of the Motion and the opportunity for a hearing on the Motion was appropriate under the

circumstances and no other notice need be provided; and the Court having reviewed the Motion;

and the Court having determined that the legal and factual bases set forth in the Motion establish

just cause for the relief granted herein; and upon all of the proceedings had before the Court; and

after due deliberation and sufficient cause appearing therefor;

            It is hereby ORDERED that:

            1.      The Motion is granted.

            2.      The following chapter 11 cases are hereby closed:


1
    Capitalized terms not defined herein are defined in the Motion.


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                                          Debtor                                  Case No.
           Autoseis, Inc.                                                      14-20130
           Global Geophysical Services, Inc.                                   14-20131
           Global Geophysical EAME, Inc.                                       14-20132
           GGS International Holdings, Inc.                                    14-20133
           Accrete Monitoring, Inc.                                            14-20134
           Autoseis Development Company                                        14-20135

         3.         The Reorganized Debtors shall, on or before 30 days after entry of this Final

Decree: (a) pay all fees due and payable pursuant to 28 U.S.C. § 1930(a)(6) with respect to the

2014 Cases; and (b) serve copies of all post-confirmation reports on the U.S. Trustee. Entry of

this Final Decree is without prejudice to the rights of the U.S. Trustee to reopen these chapter 11

cases to seek appropriate relief in the event of an unresolved dispute over the payment of fees

pursuant to 28 U.S.C. § 1930(a)(6) or the post-confirmation report.

         4.         The Claims and Noticing Services for the 2014 Cases are terminated in

accordance with the Motion upon the completion of the services listed in paragraph 5 below.

Thereafter, Prime Clerk shall have no further obligations to this Court, the Reorganized Debtors,

or any other party in interest with respect to the Claims and Noticing Services in the 2014 Cases.

         5.         Within 30 days of entry of the Final Decree, Prime Clerk will, with respect to the

2014 Cases, (a) forward to the Clerk of the Court an electronic version of all imaged claims,

(b) upload the creditor mailing list into CM/ECF, (c) docket a Final Claims Register in the lead

case containing claims of all cases, and (d) box and deliver all original claims to the Federal

Archives Record Administration. Should Prime Clerk receive any mail regarding the 2014 Cases

after entry of this Final Decree, Prime Clerk shall collect and forward such mail no less

frequently than monthly.




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         6.         The Reorganized Debtors and their agents are authorized to take all actions

necessary to effectuate the relief granted pursuant to this Final Decree in accordance with the

Motion.

         7.         Notwithstanding anything to the contrary, the terms and conditions of this Final

Decree shall be immediately effective and enforceable upon its entry.

         8.         The Reorganized Debtors reserve the right to reopen the case to accord relief to

the Reorganized Debtors, or for other cause.

         9.         The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and/or enforcement of this Final Decree.

Dated:
    Signed: December 07, 2016

                                                      ____________________________________
                                                         ____________________________________
                                                      DAVID  R. JONES David R. Jones
                                                         The Honorable
                                                      UNITED   STATES
                                                         Chief United   BANKRUPTCY
                                                                      States Bankruptcy JUDGE
                                                                                        Judge




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